Case 2:OO-CV-02923-SH|\/|-egb Document 280 Filed 08/26/05 Page 1 of 4 Page|D 457

IN THE UNITED sTATEs DISTRICT coURT 'HLED B`*' »--- -D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE 05
wEsTERN DIvIsIoN AUG 25 PH g¢ 19

 

EQUAL EMPLOYMENT OPPORTUNITY
COMMI SSION , and

 

CONSTANCE AMOS,

PlaintiffS,
VS. NO. 00-2923-Ma
AUTOZONE, INC.,

Defendant.

 

ORDER ALLOWING SUBSTITUTION OF DOCUMENT

 

Before the court is defendant's August 19, 2005, unopposed
motion to substitute the original declaration of Sheena O. Code
in the place of the unsigned declaration which was submitted with
AutoZone's motion for summary judgment. For good cause shown,
the motion is granted and the defendant may substitute the
original, signed declaration.

It is so ORDERED this 2j14§day of August, 2005.

MV”W~`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

"|'h!s document entered on the docket sheet in E;`m§!isnce
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F TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 280 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

